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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

City Of Chicago
                            Plaintiff,
v.                                                Case No.: 1:19−cv−04547
                                                  Honorable Virginia M. Kendall
Jussie Smollett
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 24, 2021:


        MINUTE entry before the Honorable Sunil R. Harjani: Status hearing set for
9/28/2021 is stricken and reset to 12/16/2021 at 9:15 a.m. by telephone. Parties are
instructed to call into the Court's conference call number at (888) 684−8852, access code
7354516. Mailed notice(lp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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